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                   IN THE UNITED STATED DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION


NEAL MCDONNELL,                       §
                                      §
      PLAINTIFF,                      §
                                      §
VS.                                   §
                                      §   CIVIL ACTION NO. 7:19-CV-00188
JENNIFER GLOVER;                      §
                                      §
OFFICER ESTEBAN FUENTES OF THE        §
MCALLEN POLICE DEPARTMENT, IN HIS     §   JURY TRIAL DEMANDED
OFFICIAL AND PERSONAL CAPACITIES;     §
                                      §
HIDALGO COUNTY, TEXAS;                §
                                      §
CITY OF MCALLEN, TEXAS;               §
                                      §
BERNALILLO COUNTY, NEW MEXICO;        §
                                      §
BERNALILLO COUNTY, NEW MEXICO         §
SHERIFF MANUEL GONZALES III, IN HIS   §
INDIVIDUAL AND OFFICIAL CAPACITIES;   §
                                      §
ONE OR MORE UNKNOWN                   §
CONSPIRATORS AT THE BERNALILLO        §
COUNTY, NEW MEXICO SHERIFF’S          §
OFFICE. IN THEIR INDIVIDUAL AND       §
OFFICIAL CAPACITIES;                  §
                                      §
OFFICER SALAZAR OF THE MCALLEN        §
POLICE DEPARTMENT, IN HIS OFFICIAL    §
AND PERSONAL CAPACITIES;              §
                                      §
OFFICER RODRIGUEZ OF THE MCALLEN      §
POLICE DEPARTMENT, IN HIS OFFICIAL    §
AND PERSONAL CAPACITIES;              §
                                      §
MCALLEN CHIEF OF POLICE VICTOR        §
RODRIGUEZ, IN HIS PERSONAL AND        §
OFFICIAL CAPACITIES;                  §
                                      §
ONE OR MORE UNKNOWN                   §
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CONSPIRATORS AT THE MCALLEN                   §
POLICE DEPARTMENT, IN THEIR                   §
INDIVIDUAL AND OFFICIAL CAPACITIES;           §
                                              §
HIDALGO COUNTY SHERIFF J.E.                   §
"EDDIE" GUERRA , IN HIS INDIVIDUAL            §
AND OFFICIAL CAPACITIES;                      §
                                              §
ONE OR MORE UNKNOWN                           §
CONSPIRATORS AT THE HIDALGO                   §
COUNTY, TEXAS SHERIFF’S OFFICE, IN            §
THEIR INDIVIDUAL AND OFFICIAL                 §
CAPACITIES;                                   §
                                              §
     DEFENDANTS.                              §
                                              §

 __________________________________________________________________________

                     PLAINTIFF’S ORIGINAL COMPLAINT
                                     AND
                                JURY DEMAND
   _________________________________________________________________________


TO THE HONORABLE COURT:

       COMES NOW, Neal McDonnell, Plaintiff, and for cause, would file this, his Original

Complaint against Jennifer Glover; Hidalgo County, Texas; City of McAllen, Texas; Bernalillo

County, New Mexico; Bernalillo County, New Mexico Sheriff Manuel Gonzales III, in his

official and personal capacities; one or more unknown conspirators at the Bernalillo County,

New Mexico Sheriff’s Office in their official and personal capacities; Officer Esteban Fuentes of

the McAllen, Texas Police Department, in his official and personal capacities; Officer Salazar of

the McAllen, Texas Police Department, in his official and personal capacities; Officer Rodriguez

of the McAllen, Texas Police Department, in his official and personal capacities; McAllen,

Texas Chief of Police Victor Rodriguez, in his official and personal capacities; one or more

unknown conspirators at the McAllen, Texas Police Department, in their official and personal



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capacities; Hidalgo County, Texas Sheriff J.E. "Eddie" Guerra, in his official and personal

capacities; one or more unknown conspirators at the Hidalgo County, Texas Sheriff’s Office in

their official and personal capacities; Hidalgo County, Texas District Attorney Ricardo

Rodriguez, in his official capacity alone; and in support thereof would respectfully show the

Court the following:



                                        I. INTRODUCTION

        1. In the summer of 2016, Neal McDonnell was living in Albuquerque, New Mexico.

He was about to be promoted to the position of Chief Executive Officer of a startup computer

services firm, weeks away from becoming engaged to be married, and working on rebuilding his

relationship with his 8-year-old daughter who was living with his ex-wife, Jennifer Glover, in

McAllen, Texas. McDonnell’s his life was destroyed, however, when he was incarcerated for six

months on a false charge of sexual abuse filed by Glover and wrongfully prosecuted by Officer

Esteban Fuentes and the other Defendants.

        2. In October 2016, McDonnell traveled to McAllen to visit his daughter, Mirna (“Mirna”

is a pseudonym used by forensic investigators to protect the identity of McDonnell’s daughter)

for six days, and, at the invitation of his ex-wife, Jennifer Glover, stayed in a spare room in

Glover’s apartment. Glover and McDonnell had divorced in 2009.

        3. The visit went well, with his daughter asking when he could visit again, and Glover

and Glover’s mother saying they’d never seen Mirna so happy. Mirna also told her mother she

was looking forward to McDonnell visiting again, and called or texted McDonnell several times

after he left.

        4. Soon after returning to Albuquerque, however, McDonnell posted a picture of his




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fiancé and him on his Facebook account announcing his engagement. Within days, Glover filed

a false police report with the McAllen Department of Public Safety falsely alleging that

McDonnell had sexually molested his daughter during his visit.

        5. The matter was first referred to the McAllen Police Department unit specializing in

sexual crimes against minors. That unit declined to take up the case, apparently finding the

charges to be implausible.

        6. That is when Officer Esteban Fuentes of the McAllen Police Department took over the

case and began pursuing McDonnell as if he had a personal vendetta against him. Fuentes

seemed driven from the moment he took up the case to ensure that Glover’s attempt at revenge

against McDonnell for getting engaged was carried out.

        7. Fuentes not only failed to perform an adequate investigation, but he also manipulated

evidence, withheld exculpatory evidence, and created false evidence against McDonnell.

Fuentes, Glover, and their co-conspirators also caused McDonnell to be arrested and extradited

to McAllen from Albuquerque in violation of normal procedure, and, once McDonnell was

released, blocked McDonnell’s efforts to file a criminal complaint against Glover for filing a

false police report.

        8. Following his arrest McDonnell was falsely charged with four counts of sexually

assaulting of his own minor daughter and was wrongfully held in the Hidalgo County jail for

almost six months. During his incarceration he was never questioned by Fuentes or any other

officer. In addition to the four known felony counts charged against McDonnell, there was a

fifth “secret felony charge” filed against him under a different cause number, for which he was

not informed of his rights or allowed access to counsel.

        9. All the charges against McDonnell were eventually dropped, although he was held in




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the Hidalgo County Jail for three additional days because of the secret felony charge. At the pre-

trial hearing, the Court told the Assistant District Attorney’s that “you really need to read the file

before bringing a case like this,” and then, after apologizing to McDonnell for “wasting five

months of your life” the Court dismissed all charges.

       10. Despite the dismissal and apology, these violations of McDonnell’s constitutional and

civil rights had a devastating impact on his life. McDonnell lost his job and his promotion; was

evicted from his apartment; had his car repossessed; had his engagement broken by his fiancé;

and suffered the emotional and physical torment of being in an open jail population in Hidalgo

County with the charge of child sexual assault filed against him.

       11. McDonnell brings this action under 2 U.S.C. § 1983, along with state law claims, to

address this conspiracy to violate his civil rights through Glover’s and Fuentes’ false accusations,

manipulation of evidence and the justice system, and the subsequent attempts to cover up any

wrongdoing.



                                            II. PARTIES

       12. Plaintiff Neal McDonnell is a resident of Bernalillo County, New Mexico, and may

be served through his attorney of record at the address below.

       13. Defendant Jennifer Glover is an individual residing in Hidalgo County, Texas and

may be served with process at 1901 North 2nd St., Apt. 608, McAllen, Texas, 78501, or wherever

she may be found. The clerk is requested to issue citation and that service be effectuated.

       14. Defendant Officer Esteban Fuentes of the McAllen Police Department, in his

individual and official capacities, is a resident of Hidalgo County, Texas, and may be served with

process at 1601 N. Bicentennial Blvd., McAllen, Texas 78501. The clerk is requested to issue




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citation and that service be effectuated.

       15. Defendant City of McAllen is a duly incorporated home-rule municipality in the State

of Texas and may be served with process by serving McAllen Mayor Jim Darling at 1300

Houston Avenue, City Hall, 2nd Floor, McAllen, Texas, 78501. The clerk is requested to issue

citation and that service be effectuated.

       16. Defendant Bernalillo County, New Mexico, a county government entity in the State

of New Mexico, may be served with process by serving the County Clerk of Bernalillo County,

New Mexico, Linda Stover, at PO Box 542, Albuquerque, NM 87103-0542. The clerk is

requested to issue citation and that service be effectuated.

       17. Defendant Bernalillo County, New Mexico Sherriff Manuel Gonzalez III, in both his

individual and official capacities, may be served with process at the Bernalillo County Sheriff’s

Office, 400 Roma NW, Albuquerque, New Mexico 87102. The clerk is requested to issue

citation and that service be effectuated.

       18. Defendant Hidalgo County, Texas, a county government entity, may be served with

process by serving County Judge Richard Cortez at 100 E. Cano, Second Floor, Edinburg, TX

78539. The clerk is requested to issue citation and that service be effectuated.

       19. Defendant Officer Salazar of the McAllen Police Department, in his individual and

official capacities, is a resident of Hidalgo County, Texas, and may be served with process at

1601 N. Bicentennial Blvd., McAllen, Texas 78501. The clerk is requested to issue citation and

that service be effectuated.

       20. Defendant Officer Rodriguez of the McAllen Police Department, in his individual and

official capacities, is a resident of Hidalgo County, Texas, and may be served with process at

1601 N. Bicentennial Blvd., McAllen, Texas 78501. The clerk is requested to issue citation and




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that service be effectuated.

       21. Defendant McAllen Chief of Police Victor Rodriguez in his individual and official

capacities, is an individual residing in Hidalgo County, Texas, and may be served with process at

1601 N. Bicentennial Blvd., McAllen, Texas 78501. The clerk is requested to issue citation and

that service be effectuated.

       22. Defendant Hidalgo County Sheriff J. E. “Eddie” Guerra, in his individual and official

capacities, is an individual residing in Hidalgo County Texas, and may be served with process at

the Hidalgo County Sheriff’s Office, 711 El Cibolo Road, Edinburg, Texas 78541. The clerk is

requested to issue citation and that service be effectuated.

       23. Defendant Hidalgo County District Attorney Ricardo Rodriguez, in his official

capacity only, is an individual residing in Hidalgo County, Texas, and may be served with

process at The Office of the Criminal District Attorney, 100 E. Cano, Edinburg, Texas 78539.

The clerk is requested to issue citation and that service be effectuated.



                                         III. JURISDICTION

       24. Jurisdiction is conferred by 28 U.S.C. § 1343, which provides for original jurisdiction

of this Court in suits authorized under 42 U.S.C. § 1983, to redress the deprivation under color of

state law, statue, ordinance, regulation, custom of usage of any right, privilege or immunity

secured by the Constitution of the United States or by any act of Congress providing for equal

rights of citizens or all persons within the jurisdiction of the United States.



                                      IV. BASES OF LIABILITY

       25. All of the actions or omissions of the Defendants Fuentes and his co-conspirators




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took place under color of state law pursuant to, acting upon, and in concert with the policies,

practices, procedures, patterns, decisions, instructions, orders, and customs of Defendants the

City of McAllen, Texas; Hidalgo County, Texas; Bernalillo County, New Mexico; the Bernalillo

County, New Mexico Sheriff’s Office; the McAllen Police Department; and the Hidalgo County

Sheriff’s Office.

       26. Defendants are liable for damages caused by Fuentes and his co-conspirators’

intentional or wrongful or reckless or negligent acts or omissions while Glover, Fuentes and their

co-conspirators were acting under color of state law and were acting within the course and scope

of their employment with the Defendants the City of McAllen, Texas; Hidalgo County, Texas;

Bernalillo County, New Mexico; the Bernalillo County, New Mexico Sheriff’s Office; the

McAllen Police Department; and the Hidalgo County Sheriff’s Office.

       27. All of these acts or omissions took place under circumstances where Defendants the

City of McAllen, Texas; Hidalgo County, Texas; Bernalillo County, New Mexico; the Bernalillo

County, New Mexico Sheriff’s Office; the McAllen Police Department; the Hidalgo County

Sheriff’s Office; Fuentes, and the co-conspirators are liable as governmental entities or sworn

law enforcement officers in the State of Texas or the State of New Mexico. Defendants’ liability

is based upon the following allegations, all of which demonstrate patterns of behavior and

deliberate indifference to the issues raised and to the constitutional rights of citizens, and all of

which led to deprivations of McDonnell’s rights, privileges and immunities secured by the

federal and state constitutions as well as federal and state laws.

       a. Violation and deprivation of constitutional rights as set out in this complaint.

        b. Inadequate training and instruction of employees of Defendants on the proper use of
police power, proper investigations, proper initiation of criminal charges, accurate and truthful
testimony in pending criminal cases and proper prosecution of alleged crime in the State of
Texas and the State of New Mexico.



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        c. Inadequate supervision of employees on the proper use of police power, proper
investigations, proper initiation of criminal charges, accurate and truthful testimony in pending
criminal cases and proper prosecution of alleged crime in the State of Texas and the State of
New Mexico.

        d. Inadequate discipline of employees on the proper use of police power, proper
investigations, proper initiation of criminal charges, accurate and truthful testimony in pending
criminal cases and proper prosecution of alleged crime in the State of Texas and the State of
New Mexico.

        e. Inadequate supervision, training, and retention with resulting poor personnel decisions
as to employees regarding the proper use of police power, proper investigations, proper initiation
of criminal charges, accurate and truthful testimony in pending criminal cases and proper
prosecution of alleged crime in the State of Texas and the State of New Mexico.

       f. Abuse of police power and arrest power against McDonnell.

       g. Failure to avoid, failure to thereafter investigate, and failure to thereafter re-open the
underlying investigation and failure to thereafter discipline law enforcement officers for
improper conflicts of interest of interested law enforcement officers investigating crimes
allegedly committed by McDonnell.

        h. Failure to take remedial action against a known pattern of misconduct by law
enforcement officers, both remedial actions as to the law enforcement officers and remedial
action as to the underlying criminal case in which the misconduct has occurred.

       i. Failure to take significant steps to prevent a known risk of wrongful arrest,
prosecution, and imprisonment.

       j. Failure to take significant steps to prevent and remedy false testimony given by law
enforcement officers in the ongoing investigation of a case being prosecuted by the State of
Texas.

       k. Taking aggressive law enforcement actions without first having met the standard of
probable cause.

       l. Tolerance of misconduct of law enforcement officers and failing to follow up and
properly and thoroughly investigate misconduct of law enforcement officers resulting in the
wrongful prosecution of Plaintiff.

        m. Deliberate indifference to and conscious disregard of a high risk that law enforcement
officers would improperly use their influence as law enforcement offices or fail to protect against
such use of improper influence in violation of Plaintiff’s protected rights.

       28. These actions, omission, policies, practices, procedures, patterns, decision, orders,

and customs of Defendants were the cause of the constitutional and other violations described in



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this Complaint. Defendants acted in concert, were joint tortfeasors and are jointly and severally

liable to Plaintiff.

        29. The conduct alleged in the Complaint violated clearly established Federal and state

protected rights of which every reasonable competent official in Defendants’ respective positions

would have, or should have, been aware. As to Defendants’ actions and omissions toward

Plaintiff, there was no objectively reasonable reliance on existing law.



                       V. FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

1. McDonnell Makes Plans to Visit His Daughter

        30. In 2016 McDonnell was working for Sagecore Technologies, a computer technology

start-up in Albuquerque, and about to sign a contract for a 15% stake in the company in

exchange for his services managing the company when he was arrested due to Glover’s false

charges. At the time the company had five employees, and McDonnell was to be head of sales

and marketing, hiring, and corporate planning.

        31. Mirna was living with McDonnell’s ex-wife, Jennifer Glover, in McAllen, Texas. In

the summer of 2016 McDonnell contacted Glover to make plans to travel to McAllen to visit his

daughter in October of 2016.

        32. Glover has had decades of alcohol and drug abuse issues, and is emotionally disabled,

receiving aid from the state as well as a caretaker because she is unable to work. Texas Child

Protective Services has previously removed Mirna from Glover’s care for failure to provide a

safe environment. From 2011 to 2012 Glover went to a rehabilitation program and then was

living on the streets of Austin, Texas.

        33. Two weeks before McDonnell’s visit, Glover told him that he should stay with her




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and Mirna in Glover’s two-bedroom apartment. She also told McDonnell that she was interested

in reconciling their marriage, even though they had been divorced for almost 10 years.

       34. When McDonnell stated that getting back together was not possible Glover became

irate and upset and said it might be better if McDonnell did not visit his daughter at all.

       35. A few days later, Glover called McDonnell and stated that he could still come and

visit his daughter. McDonnell went ahead with the visit, despite his apprehension, because of his

goal of renewing his relationship with his daughter.



2. McDonnell’s Visit with His Daughter in McAllen

       36. On October 27, 2016, McDonnell arrived in McAllen for his six-day visit with his

daughter Mirna, and, as he and Glover had agreed, stayed in a spare room in Glover’s apartment.

McDonnell spent every day with Mirna, including Halloween.

       37. The visit was a complete success as far as McDonnell and his daughter were

concerned. Mirna was completely at ease and happy with McDonnell the entire time.

       38. As postings on Facebook show, Mirna obviously enjoyed the entire visit, asking at

the end of the visit when McDonnell could visit again. There was absolutely no indication of

any abuse or even friction between McDonnell and Mirna. Glover’s mother said that she’d never

seen her granddaughter so happy as Mirna was during the entire time of McDonnell’s visit.

       39. Glover told McDonnell’s mother that Mirna had been happy and well-behaved from

the moment McDonnell arrived until he left, and that Mirna was looking forward to more visits

from McDonnell. Glover also stated that Mirna was very sad to see McDonnell leave to go back

to Albuquerque.

       40. Soon after McDonnell arrived, McDonnell spent several hours playing with Mirna at




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the apartment. When McDonnell and Mirna were playing, Glover’s state-provided care-giver

told McDonnell that she “wished her daughter and her son had that kind of relationship with their

Dad.”

        41. On Halloween, the second to last day of McDonnell’s visit, Mirna was stung by a

wasp. McDonnell took her to the school nurse, and Mirna wanted McDonnell to carry her the

rest of the day. That night, for Halloween, Mirna had McDonnell carry her from house-to-house

for trick-or-treating because she “could not walk.”

        42. On November 1, McDonnell’s last day in McAllen, Mirna asked to take the day off

school to spend with McDonnell, and the two spent the entire day together. McDonnell then

returned to Albuquerque, happy with the results of his visit.



3. McDonnell’s Engagement Announcement Triggers Glover’s False Police Report

        43. Upon his return to Albuquerque, McDonnell became engaged. McDonnell posted a

picture of his fiancé and himself on his Facebook account announcing his engagement. Glover

saw this posting on or about November 25, 2016.

        44. Glover immediately called McDonnell’s mother, Bridget Griggs, in a rage about

McDonnell’s engagement. Griggs describes Glover as “livid” over the engagement

announcement. Griggs asked Glover if “anything had happened when Neal was there – did they

fight or argue in front of her.” Glover responded “No, it all went well for the first visit.”

        45. After berating Griggs, Glover then called McDonnell to scream at him about his

getting engaged. After several minutes of abusing McDonnell over the phone, she yelled that it

“wouldn’t matter who McDonnell was with in 10 or 20 years” and then she hung up on him.

        46. Less than 10 days later, on December 5, 2016, Glover filed a false police report with




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the McAllen Department of Public Safety falsely alleging that McDonnell had sexually molested

his daughter during his visit.

       47. The case was referred to the unit of the McAllen Police Department that handles

sexual crimes against minors. That unit declined to take up the case.

       48. Three facts that the McAllen Police Department knew or should have known about

may have been what caused the Crimes Against Minors unit to decline the case. First, Glover

has a history of filing false claims of sexual assault, some of which claims painted Mirna as the

victim. In each of those occasions, after a proper investigation no charges were filed against the

individuals who were the subjects of Glover’s false claims.

       49. Second, Glover’s sworn statements in the case file contradicted one another and thus

all her statements about the case could not have been true.

       50. Third, there was an utter lack of any forensic evidence indicating any sexual assault

of the kind described by Officer Fuentes in his report.

       51. None of these factors mattered to Fuentes, who not only took up the case but pursued

it to such an extreme that he withheld exculpatory evidence and manipulated the forensic reports

to ensure that McDonnell was indicted and prosecuted despite the total lack of evidence.



4. Fuentes Pursues McDonnell and Violates His Constitutional Rights

       52. Fuentes’ investigation into Glover’s false charges was incomplete, unprofessional,

and showed a willful disregard by Defendants for McDonnell’s rights, privileges and immunities

guaranteed to him by the United States Constitution.

       53. For example, on December 8, 2016, Mirna texted McDonnell and attempted to call

him twice, saying that she missed him. Those texts would have been available to Fuentes if he




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had asked for any communications between Mirna and McDonnell. But Fuentes did not ask for

any such communications.

       54. On December 13, 2016, SANE nurse E. Garcia examined Mirna and produced a

Forensic Examination Report that stated the exam “did not show any trauma to any of the victim

body parts.” In other words, the hard evidence contradicted Glover’s statements. A copy of that

forensic report was provided to Officer Esteban Fuentes on December 14, 2016. Fuentes

ignored the results of that report in his pursuit of McDonnell.

       55. On December 18, 2016, Officer Fuentes contacted Glover to obtain a statement.

Fuentes states in his report that Glover told Fuentes she wanted to press charges against

McDonnell and would meet with Fuentes on December 26, 2016 to provide a statement.

       56. Fuentes apparently did not wait for a sworn statement from Glover before taking

action. Without getting a statement from Glover, he prepared a complaint seeking McDonnell’s

arrest for aggravated sexual assault. A warrant for McDonnell’s arrest was signed before

December 26, 2016, when Fuentes was to obtain a statement from Glover.

       57. Thus even though there was no SANE report, forensic report, or forensic evidence to

support any charges against McDonnell, but Fuentes ignored the evidence and submitted a

complaint that contradicted the forensic evidence.

       58. Based on Fuente’s complaint containing manipulated evidence a Grand Jury handed

down four counts against McDonnell. These were: Count 1 - intentionally or knowingly cause

the penetration of the sexual organ of a child younger than 14 years of age by defendant’s finger;

Count 2 - intentionally or knowingly cause the penetration of the sexual organ of a child younger

than 14 years of age by defendant’s finger (sic); Count 3 - with the intent to arouse or ratify the

sexual desire of the defendant, the defendant cause a child younger than 17 years of age to




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engage in sexual contact by causing the child to touch the genitals of the defendant; and Count 4

- with the intent to arouse or gratify the sexual desire of the defendant, expose the defendant’s

genitals knowing that a child of less than 17 years of age was present.

          59. Following the indictment, Fuentes moved quickly to procure an arrest warrant and

extradition order. Fuentes attempted to get an extradition order to retrieve McDonnell from

Albuquerque on December 26 and 27, 2016, but was unable to speak with anyone at the DA’s

office.

          60. On January 3, 2017, Fuentes again contacted the DA’s office and this time was able

to obtain the extradition order to arrest McDonnell in Albuquerque, New Mexico.

          61. When McDonnell was arrested in Albuquerque, the arresting Federal Marshal stated

to McDonnell that had looked through McDonnell’s social media, and it was clear from the

photos of McDonnell with his daughter that nothing like what Glover falsely alleged could have

happened. The Marshal informed McDonnell that he “could fight these charges.”

          62. The Marshal also told McDonnell that it was “really strange” that they were going out

to detain McDonnell, because the usual procedure was to treat the extradition order as a bench

warrant and wait until McDonnell was picked up in a traffic stop. But in this case, the Marshall

said, “the McAllen Police Department called our chief and told us to pick you up right away”

and not to wait for a bench warrant.

          63. McDonnell was arrested at his home in Albuquerque on January 26, 2017, and was

held in the Bernalillo County, New Mexico jail for 18 days awaiting extradition to Texas. He

was extradited to McAllen, Texas on February 13, 2017.

          64. McDonnell was held in the Hidalgo County jail for five months, from February 13,

2017 until July 13, 2017. During his entire illegal incarceration, McDonnell was never




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interviewed or questioned by Fuentes or any other investigating officers.

       65. At some point during McDonnell’s incarceration, he was charged with an additional

felony count of aggravated sexual assault of a minor (the “secret felony charge”). On this secret

charge McDonnell was never read his rights, afforded an attorney, provided a bond hearing, or

allowed the opportunity to post a bond. When the other charges were dropped, McDonnell was

held an additional three days in the McAllen County Jail on this secret felony charge.

       66. While McDonnell was incarcerated, Glover’s obsession with him continued. Each

time McDonnell was transported to and from court regarding the sexual assault charges, in

handcuffs, orange jumpsuit, and hand socks, Glover came to every one of these hearings, taking

copious notes.



5. Glover’s Harassment of McDonnell through Filing a Restraining Order

       67. On March 8, 2017, in the midst of McDonnell’s illegal incarceration, Glover filed a

restraining order against McDonnell. Glover failed to appear for any of the hearings on the

restraining order. The court reset hearings on the temporary restraining order on March 21,

2017; April 13, 2017; May 10, 2017; and June 20, 2017.

       68. These trips caused extreme emotional and personal trauma for McDonnell, because

each trip to court was another chance that the inmate population of the county jail could discover

the charges for which McDonnell was incarcerated.

       69. Only on July 21, 2017 – eight days after McDonnell was released – did Glover finally

allow her suit for a protective order to be dismissed.

       70. The restraining order appears to have been a way for Glover to both harass

McDonnell and attempt to bolster her false claims against him without actually having to face




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questioning under oath.



 6. All Charges Against McDonnell are Dropped and the Court Apologizes to McDonnell

       71. Through the heroic efforts of his court-appointed counsel, all the criminal charges

(except for the secret felony charge) were dropped. At the hearing dropping the charges, on or

about July 10, 2017, the Court first told the Assistant District Attorney’s that “you really need to

read the file before bringing a case like this,” and then, after apologizing to McDonnell for

“wasting five months of your life” the Court dismissed all charges.

       72. During the entire incarceration ordeal, McDonnell lived in daily fear for his life and

safety, should the other inmates learn of the nature of the charges against him. During one trip to

the court for a hearing, the judge inadvertently mentioned in open court that a particular inmate

was charged with child sexual assault. When the group was returned to the jail, that inmate was

assaulted by the other inmates. It would be of little comfort to McDonnell that the charges were

false if the other prisoners were to learn the nature of the charges against him.

       73. After the known charges were dismissed by the Court, McDonnell was to be released

in July 10, 2017. The Hidalgo County Sheriff’s Office, however, refused to release McDonnel

because their records showed the additional secret felony charge for sexual assault of a minor

under a separate cause number.



7. McDonnell’s Release is Delayed Due to the Secret Felony Charge

       74. McDonnell was held an additional three days in the Hidalgo County Jail on this secret

charge, creating further emotional and mental trauma because of the uncertainty of what would

happen on this additional charge.




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       75. McDonnell was never afforded an attorney, allowed a hearing to set a bond or

allowed any of his other constitutional rights for the second, secret felony charge. There was

apparently no grand jury process involved on the secret felony charge.

       76. McDonnell was finally released on July 13, 2017, and, now without a job, an

apartment, a car, or a finance he went to El Paso to stay with his mother while he began to

rebuild his life. McDonnell eventually returned to Albuquerque and worked as a waiter until he

once again found employment in the computer and electronics fields.



8. Fuentes and His Co-Conspirators Violate McDonnell’s Right to Access to the Courts by
Derailing His Efforts to File Criminal Charges Against Glover

       77. On or about April 20, 2018, some ten months after his release, McDonnell contacted

the McAllen Police Department to file a criminal complaint against Glover for filing a false

police report. McDonnell spoke to an Officer Rodriguez regarding pressing charges against

Glover pursuant to Texas Penal Code Section 37.08. Officer Rodriguez at first told McDonnell

that “the case is closed.”

       78. Officer Rodriguez asked McDonnell for evidence that Glover had lied and told

McDonnell that he would have to provide documentary evidence before the McAllen Police

would open an investigation – a standard in stark contrast to that offered to Glover when she

swore out her false complaint, where the evidence actually contradicted Glover’s statements.

       79. On or about May 19, 2018, McDonnell again called the McAllen Police Department

to file a criminal complaint against Glover for filing a false police report. He spoke to an Officer

Salazar who, surprisingly, told McDonnell that McDonnell would have to talk to Fuentes before

he could file such a report.

       80. On May 20, 2018, McDonnell was shocked to receive a call on his cell phone from



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Officer Fuentes, the same officer who had “investigated” Glover’s false charges against

McDonnell. Fuentes told McDonnell that he could only file the charge through the District

Criminal Attorney of Hidalgo County, and that, once McDonnell had the charge filed, Fuentes

himself would handle the matter “personally.” McDonnell followed up with the Hidalgo County

Criminal District Attorney’s Office and was told by that office that what Fuentes had told him

was incorrect.

       81. The conspiracy had the desired effect, as McDonnell ceased his efforts to file the

criminal charges against Glover.



9. Summary of Violations of McDonnell’s Rights

       82. These violations of McDonnell’s constitutional and civil rights had a devastating

impact on his life. He lost his job and his promotion; was evicted from his apartment; had his car

repossessed; had his engagement broken by his fiancé; became financially destitute; and suffered

the emotional and physical torment of being in an open jail population in Hidalgo County with

the charge of child sexual assault filed against him.

       83. McDonnell’s civil rights were violated by the Defendants acting individually and in

concert, in not allowing McDonnell counsel for at least one of the charges filed against him;

holding McDonnell on a felony charge without reading him his Miranda rights; ensuring that

McDonnell’s case was not properly investigated; manipulating evidence; obstructing justice;

extraditing McDonnell from New Mexico in violation of practice; and obstructing McDonnell’s

efforts to file criminal charges against Glover for filing a false police report. Such actions were

in violation of the Constitution and laws of the United States, the State of Texas, and the State of

New Mexico.




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        84. Defendants further conspired to violate McDonnell’s rights and to harm McDonnell

by arresting and incarcerating McDonnell, and to continue his incarceration unreasonably, which

actions resulted in harm to McDonnell’s reputation, mental and emotional health, finances, and

personal life.

        85. Defendants the City of McAllen, Texas, Hidalgo County, Texas, and Bernalillo

County, New Mexico, and their subdivisions the Hidalgo County Sheriff’s Office, the Bernalillo

County Sheriff’s Office, and the McAllen Police Department lack proper training in First

Amendment rights, Fourteenth Amendment rights, and Fourth Amendment search and seizure

procedures and the preservation of and integrity of evidence.

        86. Defendants the City of McAllen, Texas, and Hidalgo County, Texas, and their

subdivisions the Hidalgo County Sheriff’s Office, the Hidalgo County Criminal District

Attorney’s Office, and the McAllen Police Department refused to properly investigate the gross

violations of McDonnell’s rights, or to allow McDonnell to file a criminal complaint against

Glover.

        87. The actions of Fuentes and the co-conspirators were conducted with the express or

implied authority of and were acting under express or implied policies of Defendants the City of

McAllen, Texas and Hidalgo County, Texas, and their subdivisions the Hidalgo County Sheriff’s

Office and the McAllen Police Department, and their respective Chief of Police and County

Sheriff.

        88. At all times material thereto, Defendants were acting under color of state and local

law when they deprived McDonnell of his rights, privileges and immunities secured by law and

the Constitution of the United States.

        89. Defendants’ actions were intentional, negligent, done in reckless disregard for, or




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deliberate indifference to McDonnell’s civil and constitutional rights. These violations were the

proximate or producing cause of McDonnell’s damages.

       90. The official policies, custom and practices, along with the Defendants’ deliberate

indifference to McDonnell’s civil and constitutional rights, were a moving force which caused

and resulted in the illegal seizure of McDonnell’s person, the presentation of false and

manipulated evidence, and the false arrest, extradition, and imprisonment of McDonnell, and the

proximate damages caused to McDonnell.

       91. Defendants acted so egregiously in conspiring against McDonnell’s civil and

constitutional rights that a jury may properly infer that Defendants’ actions constitute policies,

customs or practices that violate the civil and constitutional rights of McDonnell.

       92. Defendants acted with malice in that they exhibited a gross indifference or reckless

disregard for the civil and constitutional rights of McDonnell, amounting to wanton and willful

actions.

                                      VI. INJUNCTIVE RELIEF

       93. Plaintiff prays for injunctive relief such that the officers who participated in these acts

against Plaintiff will be investigated or disciplined or trained properly. In addition, Plaintiff

seeks injunctive relief as to the respective Sheriffs and departments requiring them to establish

policies and procedures to adequately investigate their respective employees, properly train their

respective deputies, employees, or prosecutors, properly supervise their respective deputies,

employees, or prosecutors, and change their respective policies and procedures to prevent

another occurrence of the events that damaged McDonnell.

       94. Plaintiff will establish that the continued violation of Plaintiff’s civil rights by the

Defendants in maintaining their current practices will create imminent and irreparable harm in




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that it is impossible to truly measure the value of a First Amendment freedom of expression or

the right to redress grievances to the government and thus the harm cannot be undone by

monetary damages. See, e.g., Elrod v. Burns, 427 U.S. 347 (1976).

          95. Thus any remedy at law is inadequate and illusory because damages are not subject to

exact calculation and the loss of said freedoms is priceless and effective relief cannot be obtained

without the necessity of filing hundreds or even thousands of individual lawsuits. Filing such

lawsuits is prohibitive because of the costs of litigating each such case with its respective

benefits for each Plaintiff. The injuries suffered by Plaintiff and all similarly situated persons

outweighs any injury that would be sustained by Defendants as a result of any entry of injunctive

relief.

          96. The granting of injunctive relief will have a positive effect on public policy and the

public interest in that it will give rise to greater compliance with citizens’ freedoms while at the

same time reducing the possibility for the unwarranted filing of multiple, redundant charges,

failing to allow a charged person representation on charges against him, and failing to properly

investigate charges against him.

          97. Furthermore, the public interest will be furthered in protecting First, Fourth, and

Eight amendment rights by enjoining Defendants from retaliating against citizens who complain

of civil rights violations or who attempt to file charges for filing false criminal claims against

him.

          98. Pursuant to Section 1983 of the Federal Code, and the traditional principles of equity,

Plaintiff prays for injunctive relief to prohibit Defendants from violating the Constitutional and

statutory rights guaranteed to all citizens of the United States and for continuing oversight and

compliance review by this Court until the Court has determined that its injunctive orders have




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been fully implemented.



                                      VII. CAUSES OF ACTION

                                        Count I:
    Claim Pursuant to 42 U.S.C. § 1983 for Malicious Prosecution, False Arrest, Use of
   Unreliable and Fraudulent Investigatory Techniques, Procurement of Unreliable and
                   Fabricated Evidence, and Wrongful Imprisonment.

        99. Plaintiff incorporates all prior and subsequent paragraphs of this Complaint as if fully

set forth herein.

        100. The illegal arrest, illegal confinement, fraudulent investigations, and malicious

prosecution of Plaintiff were deliberately and intentionally brought about by Defendants. The

arrest, confinement, and prosecution were the obvious and intended results of the investigation in

a manner designed to prove a case against Plaintiff despite his actual innocence, which was

known or should have been known to the Defendants.

        101. In their investigation, Defendants procured demonstrably unreliable and false

evidence.    Additionally, Defendants utilized information obtained in a manner that was

inherently unreliable. For example, Officer Fuentes allowed a biased, interfering, and mentally

unstable mother to be present during the questioning of Mirna, and to interfere with and

otherwise direct the investigation.

        102. Defendants maintained policies and practices which ignored the constitutional

obligations of the named law enforcement entities and persons to provide evidence of innocence

to the defense. The policies and practices in fact discouraged the obtaining or providing of

exculpatory evidence and permitted schemes and faulty investigative techniques, such as the

ones utilized in this case, in which no proper investigation was performed before Defendants




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obtained an arrest warrant for Plaintiff, in violation of good law enforcement practices and

procedures.

       103. The actions of Defendants constituted unconstitutional seizures of Plaintiff in

violation of the Fourth and Fourteenth Amendments to the United States Constitution. The

actions of the Defendants mentioned under this Count resulted in multiple invasions of Plaintiff’s

rights to due process of law under the Fifth, Sixth, and Fourteenth Amendments to the United

States Constitution and subsequently resulted in the cruel and unusual punishment of Plaintiff

under the Eight and Fourteenth Amendments to the United States Constitution.

       104. The actions of the Defendants recounted in this Count also resulted in a violation of

Plaintiff’s right to the effective assistance of counsel under the Sixth and Fourteenth

Amendments because the Defendants interfered with defense counsel’s ability to provide

constitutionally effective assistance, and because Plaintiff was simply not provided the

constitutionally required access to counsel for at least one of the criminal charges against him.

       105. The actions of the Defendants described in this Count interfered with Plaintiff’s

fundamental constitutional rights under the Fourth, Fifth, Sixth, Eight, and Fourteenth

Amendments to the United States Constitution. All of these constitutional rights are protected by

42 U.S.C. § 1983. The action of the Defendants mentioned in this Count proximately and

directly caused Plaintiff grievous and permanent injury, including nearly six months of

incarceration and the attendant loss of freedom, companionship, and income; and the attendant

infliction of mental and physical pain, suffering mental and emotional anguish, fear, including

the fear of being incarcerated for the rest of his life for a crime he did not commit, and the fear of

suffering physical harm by his fellow inmates should they discover the nature of the charges

against him.




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        106. The Defendants actions were deliberate, reckless, wanton, or cruel, justifying the

award of punitive damages.



                                            Count II:
  Claim Pursuant to 42 U.S.C. § 1983 for Conspiracy (Jennifer Glover, Officer Fuentes,
 Officer Rodriguez, Officer Salazar, City of McAllen, Texas, and Hidalgo County, Texas,
 along with co-conspirators in the Hidalgo County Sheriff’s Office, the Bernalillo County
                    Sheriff’s Office, the McAllen Police Department)

        107. Plaintiff incorporates all prior and subsequent paragraphs of this Complaint as if

fully set forth herein.

        108. Defendants Glover, Fuentes, and the other Defendants, together and under color of

state law, reached an understanding, engaged in a course of conduct, and otherwise conspired

among and between themselves to deprive Plaintiff of his constitutional rights, including his

right to free association and familial privacy, to be free from unreasonable arrest and seizure, to

be free from wrongful conviction and imprisonment, to be free from malicious prosecution, to

fair trial and fair access to the courts, to due process of law, to counsel, to be free from cruel and

unusual punishment and all basic rights of American citizens faced with criminal sanctions. The

conspiracies deprived Plaintiff of rights protected by the First, Fourth, Fifth, Sixth, Eighth, and

Fourteenth Amendments to the United States Constitution and 42 U.S.C. § 1983.

        109. The conspiracy was also intended to and had the effect of depriving Plaintiff of his

rights to association which his family, including his natural daughter, Mirna, and to familial

privacy, in violation of their rights under the First, Ninth, and Fourteenth Amendment to the

United States Constitution. Mirna was known to at least some of the co-conspirators as being

Plaintiff’s daughter.




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        110. The Defendants named in this Count, along with unnamed co-conspirators in the

Hidalgo County Sheriff’s Office, the Bernalillo County Sheriff’s Office, the McAllen Police

Department, committed the overt acts set forth in the factual statements above. The overt acts

involved the wrongful arrest, prosecution, imprisonment and deliberately indifferent

investigation of patently false allegations against Plaintiff. It also included the manufacture of

knowingly false and knowingly unreliable evidence which was intended to inculpate Plaintiff;

the suppression of exculpatory evidence, such as Plaintiff’s own testimony and communication

between Plaintiff and Mirna; and the filing of false, misleading, and unreliable reports as part of

the investigation. The conspiracy was designed to prove a case against Plaintiff despite his

actual innocence which was or should have been known to Defendants.

        111. The conspiracies and overt acts were continuing in nature and caused Plaintiff

constitutional deprivations, injuries, pain, suffering, mental and emotional anguish, incarceration,

imprisonment, humiliation, and loss of freedom, companionship and income. Plaintiff also

suffered permanent damage to his personal and professional reputation.

        112. Because the actions of Defendants were deliberate, reckless, wanton, or cruel,

punitive damages are justified.



                                            Count III:
          Claim Under 42 U.S.C. § 1983 for Suppression of Exculpatory evidence (Fuentes,
                                Glover, Other Defendants)

        113. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.

        114. Defendants, along with other investigative and prosecutorial personnel, together and

under color of state law, kept from Plaintiff and his counsel and the grand jury testimony




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exculpatory information, including information supporting his innocence such as the actual

reports provided by the SANE investigators, and the fact that Glover had a history of making

similar sexual abuse claims against other adults, which would have cast doubt on the reliability

of the primary witnesses against Plaintiff.

        115. The withholding of various types of exculpatory evidence was in violation of

Plaintiff’s rights under the Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments to the

United States Constitution, as protected by 42 U.S.C. § 1983. The withholding of exculpatory

evidence proximately and directly led to Plaintiff’s incarceration for almost six months, as well

as leading to his damages.

        116. Plaintiff is therefore entitled to monetary relief. Because the actions were deliberate,

reckless, wanton, or cruel, punitive damages are justified.



                                           Count IV:
        42 U.S.C. § 1983 Claim Against the City of McAllen, Texas, Bernalillo County, New
                            Mexico and Hidalgo County, Texas.

        117. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.

        118. The City of McAllen, Texas, Hidalgo County, Texas, and Bernalillo County, New

Mexico had in effect, both before and at the time of the events alleged in this Complaint,

policies, practices, and customs which operated to deprive Plaintiff of his rights under the

Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments to the United States Constitution, as

protected by 42 U.S.C. § 1983.

        119. The City of McAllen, Texas, Hidalgo County, Texas, and Bernalillo County, New

Mexico are accountable under 42 U.S.C. § 1983 because they established policies and practices




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that were intended to and did encourage, endorse, and reward their agents and employees for

violating the constitutional rights of Plaintiff and other similarly situated persons.           At a

minimum, the supervisors and the governmental units were deliberately indifferent to such

constitutional violations.

       120. The unconstitutional policies and practices include, but are not limited to:

       a. a policy, practice and custom of failing to properly train and supervise officers in the
techniques of reliably investigating serious crimes.

       b. a policy, practice and custom of using interrogation techniques which, through having
and increased likelihood of obtaining information from persons, had a great likelihood of
obtaining false and unreliable information from suspects and witnesses;

        c. a policy, practice and custom of suppressing, destroying, altering, or otherwise
secreting exculpatory evidence from the defense, barring such evidence from the grand jury, and
limiting defense access to meaningful evidence;

        d. a policy, practice and custom of failing to adequately supervise law enforcement
officers known by it to have falsely testified, and known by it to have destroyed or changed
evidence;

        e. a policy, practice and custom of failing to discipline officers who violate the
Constitution or law or otherwise transgress the rights of criminal suspects during their
investigations;

       f. a policy, practice and custom of being deliberately indifferent to the violation by law
enforcement officers of the rights of the accused;

       122. The City of McAllen, Texas, Hidalgo County, Texas, and Bernalillo County, New

Mexico had acquired, before and during the time periods of Plaintiff’s prosecution, each of the

policies, practices, and customs listed in this Count.

       123. Additionally, The City of McAllen, Texas, Hidalgo County, Texas, and Bernalillo

County, New Mexico acted in concert with the McAllen Police Department, the Hidalgo County

Sheriff’s Office, and the Bernalillo County Sheriff’s Office in a collaborative effort to adopt and

perpetuate the unconstitutional polices, practices, and customs of each other.




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        124. These interrelated policies, practices, and customs, separately and together, were

implemented intentionally to deprive possible targets of criminal investigations of their

constitutional rights, or, at the very least, were implemented with a deliberate indifference to the

rights of possible targets of criminal investigation and were a direct and proximate cause of the

Constitutional violations and injuries, as set forth in Counts I, II, III, IV, and V of this

Complaint.



                                           Count V:
      Claim for Negligence Resulting in Wrongful Incarceration and Continued Detention
(Fuentes, Glover, City of McAllen, County of Hidalgo, McAllen Chief of Police and Hidalgo
                                     County Sherriff)

        125. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.

        126. If Defendants and other unnamed law enforcement and civilian co-conspirators did

not act intentionally, deliberately and in bad faith, they did put together against Plaintiff an

unreliable case through negligent investigation, irresponsible procurement and modification of

evidence, and inadequate training and supervision. The City of McAllen, Texas and the County

of Hidalgo, Texas are responsible for this negligence under the doctrine of respondeat superior.

        127. The Defendants named in this Count are responsible for negligence in causing the

incarceration and continued detention of an innocent person, Neal McDonnell.

        128. In addition to owing Plaintiff a duty of care in the period of time leading up to his

prosecution, they had a duty to inquire – especially upon the receipt of information casting doubt

on whether any sexual assault of Mirna McDonnell ever occurred – regarding the correctness of

the investigation and incarceration.




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        129. The negligence in causing the arrest, incarceration, and continued detention of

Plaintiff, despite the existence of evidence pointing toward innocence, proximately and directly

caused Plaintiff grievous personal injury, including nearly six months of incarceration and the

attendant loss of freedom, companionship and income, and the attendant mental and physical

pain, suffering, anguish, fear, including the fear of spending the rest of his live in prison and

dying in prison despite his innocence, and the fear of physical violence should the jail population

discover the charges against him. Plaintiff also suffered permanent damage to his personal and

professional reputation.

        130. Because Defendants’ actions were deliberate, reckless, wanton, or cruel, Plaintiff is

entitled to punitive damages.



                                              Count VI:
                            Claim Under Texas Common Law for False Arrest

        131. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.

        132. Defendants, acting in concert each with the other, did willfully and unlawfully and

under color of legal authority, illegally arrest or permit the illegal arrest of Plaintiff and detained

him against his will without due and legal process. As a result of the false arrest, the Defendants

caused Plaintiff grievous personal injury, including six months of incarceration and the attendant

loss of freedom, companionship and income, and the attendant mental and physical pain,

suffering, anguish, fear, including the fear of spending the rest of his live in prison and dying in

prison despite his innocence, and the fear of physical violence should his the jail population

discover the charges against him. Plaintiff also suffered permanent damage to his personal and

professional reputation.



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        133. Because Defendants’ actions were deliberate, reckless, wanton, or cruel, Plaintiff is

entitled to punitive damages.



                                           Count VII:
                      Claim Under Texas Common Law for Malicious Prosecution

        134. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.

        135. Defendants, acting in concert each with the other, did willfully, maliciously and

unlawfully and under color of legal authority, cause Plaintiff to be falsely prosecuted in court and

as a result of this prosecution Plaintiff suffered grievous personal injury, including six months of

incarceration and the attendant loss of freedom, companionship and income, and the attendant

mental and physical pain, suffering, anguish, fear, including the fear of spending the rest of his

live in prison and dying in prison despite his innocence, and the fear of physical violence should

his the jail population discover the charges against him. Plaintiff also suffered permanent

damage to his personal and professional reputation.

        136. Because of the malicious, willful, and reckless nature of Defendants’ actions

Plaintiff is entitled to punitive damages.



                                             Count VIII:
                  Failure to Provide Notice of Hearing and Opportunity to be Heard

        137. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.

        138. Parties whose rights are to be affected are entitled to be heard. The notice of hearing

and the opportunity to be heard must be granted at a meaningful time and in a meaningful




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manner. The constitutional right to be heard is a basic aspect of the duty of government to

follow a fair process of decision making when it acts to deprive a person of his possessions. The

purpose of this requirement is not only to ensure abstract fair play to the individual. Its purpose,

more particularly, is to protect his use and possession of property from arbitrary encroachment.

        139. Defendants violated Plaintiff’s right to notice of hearing and opportunity to be heard

on at least one felony charge arising out of the same set of circumstances and occurrences as the

known felony charges which were dismissed in their entirety by the state court.

        140. Defendants, acting in concert each with the other, did willfully, maliciously and

unlawfully and under color of legal authority, prevented Plaintiff from receiving notice and an

opportunity to be heard on at least one felony charge pending against him for more than six

months, and as a result of this failure to provide notice and opportunity to be heard Plaintiff

suffered grievous personal injury, including incarceration and the attendant loss of freedom,

companionship and income, and the attendant mental and physical pain, suffering, anguish, fear,

including the fear of spending the rest of his live in prison and dying in prison despite his

innocence, and the fear of physical violence should his the jail population discover the charges

against him.     Plaintiff also suffered permanent damage to his personal and professional

reputation.

        141. Because of the malicious, willful, and reckless nature of Defendants’ actions

Plaintiff is entitled to punitive damages.


                                             Count IX:
        Failure to Provide Counsel in Violation of the Sixth and Fourteenth Amendments to
                              the United States Constitution

        142. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.



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        143. Defendants failed to provide counsel to Plaintiff on at least one of the charges

brought against him. Once the known charges were dismissed, the Hidalgo County Sherriff

refused to release Plaintiff, asserting there was still at least one felony charge pending against

him arising out of the same circumstances as the known charges dismissed by the state court.

Defendants failed to inform Plaintiff of his rights under this charge, failed to provide him

counsel, and held him in the Hidalgo County Jail for an additional three days because of these

charges hitherto unknown to Plaintiff.

        144. Defendants, acting in concert each with the other, did willfully, maliciously and

unlawfully and under color of legal authority, prevented Plaintiff from receiving access to

counsel, and as a result of this lack of access to counsel Plaintiff suffered grievous personal

injury, including incarceration and the attendant loss of freedom, companionship and income,

and the attendant mental and physical pain, suffering, anguish, fear, including the fear of

spending the rest of his live in prison and dying in prison despite his innocence, and the fear of

physical violence should his the jail population discover the charges against him. Plaintiff also

suffered permanent damage to his personal and professional reputation.

        145. Because of the malicious, willful, and reckless nature of Defendants’ actions

Plaintiff is entitled to punitive damages.



                                            Count X:
         Section 1983 Conspiracy Claim that Fuentes, Rodriguez, and Salazar Conspired to
           Deprive McDonnell of His Constitutional Right of Access to the Courts

        146. Plaintiff adopts by reference all prior and subsequent paragraphs of this Complaint

as if fully set forth herein.




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       147. When McDonnell tried to file a criminal charge against Glover for filing a false

police report, Fuentes, Rodriquez, and Salazar conspired to deprive her of a constitutional and

federal right of access to the Courts.       Fuentes furthered the conspiracy by misdirecting

McDonnell so that he could not file the charge; Rodriguez attempted to thwart McDonnell’s

filing by saying the case was already closed and that he did not have any proof to file a claim,

and Rodriguez told McDonnell he could only file the claim after talking with Fuentes.

       148. McDonnell was injured by these overt acts in that he was not able to file the criminal

complaint, and thus unable to take that step to clear his name of the false charges.

       149. McDonnell has a constitutional right to bring a § 1983 action for his false arrest and

detention.   The right of access to courts for redress of wrongs is an aspect of the First

Amendment right to petition the government.



                                  VIII. CLAIMS FOR DAMAGES

       150. The actions of Defendants deprived Plaintiff of his civil rights under the First,

Fourth, Fifth, Sixth, Eighth, Ninth and Fourteenth Amendments to the United States

Constitution. As a result of the actions and circumstances described above, Plaintiff has suffered

injuries and damages but not limited to one or more of the following:

       a. Past and future physical injuries and impairment;

       b. Past and future pain and suffering;

       c. Past and future mental anguish and humiliation;

       d. Loss of time;

       e. Physical discomfort or inconvenience;

       f. Past and future economic losses including legal fees in connection with representation
       for the wrongful charges asserted against him.



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       151. The unlawful and reckless acts of the Defendants resulted in malicious prosecution,

abuse of process, and false arrest. The unlawful and reckless acts of the Defendants cause

Plaintiff severe emotional distress, pain, humiliation, anguish, loss of companionship, and

financial loss. Plaintiff also lost his freedom and suffered permanent damage to his personal and

professional reputation.

       152. Defendants’ conduct described above is the type of conduct for which the law,

including 42 U.S.C. § 1983, allows the assessment of exemplary damages. Accordingly,

Plaintiff seeks punitive damages in an amount to be determined by the trier of fact.



                                       IX. JURY DEMAND

       153. Plaintiff demands a jury trial under Federal Rule of Civil Procedure 38(b).



                                      X. ATTORNEY FEES

       154. It was necessary for Plaintiff to engage the services of legal counsel to prosecute this

claim for relief. Upon Judgment, Plaintiff prays that the Court award Attorney fees and costs.



                                    XI. PRAYER FOR RELIEF

       155. Wherefore, premises considered, Plaintiff respectfully prays that this Court will:

Assume jurisdiction of this matter, case and controversy for a hearing on the merits; Award

compensatory damages to Plaintiff, and against the Defendants, jointly and severally, in the

amount of $20,000,000.00; Award punitive damages to Plaintiff, and against the Defendants,

jointly and severally, in the amount of $5,000,000.00; Award to Plaintiff his costs and attorney




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fees, pre-judgment and post-judgment interest, and all other relief the Court deems just and

proper, and to which Plaintiff is entitled, at law or equity.



                                               Respectfully submitted,

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